               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 2:11-00002
                                                  )      Judge Trauger
[26] TRESHA MAE SHERRILL                          )


                                          ORDER

       It is hereby ORDERED that a hearing shall be held on the Petition to Revoke

Supervision (Docket No. 1683) on Monday, June 9, 2014, at 2:00 p.m.

       It is so ORDERED.

       ENTER this 28th day of May 2014.




                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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